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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN

 VALERIE KLOOSTERMAN

      Plaintiffs
                                                Civil Action No. 1:22-cv-00944
 v.                                             Hon. Jane M. Beckering

METROPOLITAN HOSPITAL, d/b/a
UNIVERSITY OF MICHIGAN HEALTH-WEST;
RAKESH PAI, an individual; RHAE-ANN
BOOKER, an individual; MARLA COLE, an
individual; THOMAS PIERCE, an individual; and
CATHERINE SMITH, an individual.

      Defendants.
______________________________________________________________________________




DEFENDANTS’ BRIEF IN SUPPORT OF RESPONSE TO PLAINTIFF’S MOTION FOR
       LEAVE TO FILE REPLY IN SUPPORT OF MOTION TO AMEND
              CORRECTED FIRST AMENDED COMPLAINT




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                                    I.         INTRODUCTION

       As shown below, this Court should deny Plaintiff’s request to file a Reply to Defendants’

Response to Plaintiff’s Motion for Leave to Amend Corrected First Amended Complaint. In brief,

it raises new issues that should have been raised in the underlying Motion and its Brief in Support.

The issues Plaintiff raises are ones about which Plaintiff was well aware when she filed her Motion.

       In addition to opposing the filing of Plaintiff’s proposed Reply, Defendants respond herein

to Plaintiff’s new arguments on their merits. Thus, Defendants request that Plaintiff’s Motion be

denied but, even if the Court accepts Plaintiff’s Reply for filing, the arguments herein address

substantively the new arguments Plaintiff raises.1

                                         II.    ARGUMENT

    A. PLAINTIFF’S DELAY IN SEEKING LEAVE TO AMEND

       Defendants entirely disagree with the statements Plaintiff makes in her Motion that she did

not delay in bringing her Motion for Leave to Amend Corrected First Amended Complaint

(“Motion for Leave to Amend”). This is in part because, in amending her Complaint once

previously without leave of the Court - and then correcting the same - Plaintiff made substantive

revisions to the original Complaint to address some issues raised specifically by Defendants’ initial

Motions to Dismiss but without making other substantive revisions addressed in those same initial

Motions to Dismiss. Then, in her pending Motion for Leave to Amend, Plaintiff proposed

additional substantive modifications to her pleading in order to address other issues in Defendants’

Motions to Dismiss.


1
  Although Defendants initially considered a motion seeking permission to file a Sur-Reply if
Plaintiff’s proposed Reply is accepted for filing, Defendants concluded that addressing Plaintiff’s
proposed arguments in the same document would be more efficient and respectful of the Court’s
obligations and that it would limit further unnecessary briefing. If the Court believes that separate
additional briefing would be helpful for its determination of the issues, Defendants stand ready to
do so.

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        Contrary to the assertion in Plaintiff’s Motion, nothing about those tactics will “promote

judicial economy,” particularly where: (a) Defendants had to bring renewed Motions to Dismiss;

(b) Defendants had to respond to her Motion for Leave to Amend seeking to allow a second

amended complaint raising new theories of liability and requests for relief after Plaintiff failed to

include them in the original Complaint and realizing she should have not have advanced other

claims; (c) Defendants now must respond to a Motion seeking to file a Reply to Defendants’

Response to Plaintiff’s Motion for Leave to Amend in order to address arguments Plaintiff should

have presented in her initial Motion and supporting Brief; and (d) Plaintiff’s various errors push

this Court to address countless separate filings, two new motions and responses.

    B. PLAINTIFF’S PROPOSED REPLY IS NOT THE PLACE TO MAKE
       ARGUMENTS SHE SHOULD HAVE MADE IN HER MOTION FOR LEAVE TO
       AMEND AND, IN ANY EVENT, THEY ARE MERITLESS

                1.      Michigan Constitution Claims

        Plaintiff asserts that she needs to address her “ability to bring constitutional tort claims

against the Individual Defendants.” (PageID. 1049). However, the issues Plaintiff now wants to raise

in her proposed Reply could and should have been considered and addressed in the underlying Motion

for Leave to Amend itself. In that Motion, Plaintiff seeks to add claims against the individual

Defendants for individual liability under the Michigan Constitution. At no point in her Motion for

Leave to Amend or supporting Brief did Plaintiff even address whether individual liability against

government actors could lie under the Michigan Constitution. (ECF Nos. 51, 52). Yet, now, after

Defendants showed in their Response a wealth of authority that Plaintiff could not,2 she argues in her

proposed Reply that this authority should be disregarded in favor of a state court case, Mays v Snyder,3

which recognized a possible but narrow judicially-inferred damages remedy for a Due Process claim


2
 PageID. 1019-1021.
3
 323 Mich. App. 1, 916 N.W.2d 227 (Mich. App. 2018), aff'd sub nom. Mays v. Governor of
Michigan, 954 N.W.2d 139 (2020).

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arising from injury to bodily integrity due to toxic water exposure, and only in a case addressing

individuals sued in their official capacities.

        A reply brief is not the place to make new arguments and thereby deprive the opposing party

of the opportunity to expose the weaknesses of the plaintiff's arguments. Scottsdale Ins. Co. v. Flowers,

513 F. 3d 546, 553 (6th Cir.2008). That is exactly what Plaintiff is seeking to do by way of the instant

Motion and it should be denied.

        As Plaintiff recognizes (PageID. 1057), the case on which she relies for her right to pursue

claims under the Michigan Constitution (Mays), had nothing to do with individual liability and only

sought damages from the Defendants in their official capacities. An official capacity claim is

essentially one against the State itself.4 See Mays, 916 N.W.2d at 275. (“[t]he Jones Court specifically

contemplated the availability of official-capacity suits and was careful to evaluate the availability of

alternative remedies…”) (emphasis added). As Plaintiff knows, monetary relief against an individual

defendant in their official capacity is barred in this Court by the Eleventh Amendment. See e.g., Cady

v. Arenac County, 574 F. 3d 334, 342 (6th Cir. 2009).

        Plaintiff argues in her proposed Reply that Article I, § 4 of the Michigan Constitution (the Free

Exercise clause) “is more protective than the federal Free Exercise Clause” and that this fact authorizes

Plaintiff to pursue that claim separately from her Section 1983 Free Exercise claim. Again, that

assumes Mays applies to individual liability, a proposition Plaintiff does not argue.

        Even if Mays did apply, Mays makes clear that such relief against government defendants

depends, among other things, on the “unavailability of any other remedy.” 916 N.W.2d at 274-275.

However, here, Plaintiff seeks the same remedy for the same alleged wrong in Count I, her Section

1983 claim against Defendants in their individual capacities. Although Plaintiff may claim that the bar



4
 Monell v. Dep't of Soc. Servs of City of New York., 436 U.S. 658, 690 n.55, 98 S. Ct. 2018, 2036,
56 L. Ed. 2d 611 (1978) (noting that official capacity claims “represent only another way of
pleading an action against an entity of which an officer is an agent.”).

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is higher for Count I, it still permits her to seek a remedy for the alleged deprivation of her Free Exercise

rights. Plaintiff also seeks injunctive relief from Defendants in their official capacities in that claim,

including reinstatement. In addition, Plaintiff seeks monetary relief from UMHW under Title VII of

the Civil Rights Act of 1964 for the alleged religious discrimination.

        Plaintiff’s proposed Reply fails to consider, let alone apply, the other four “factors” that Mays

said it should consider. It listed the various factors as follows: “(1) the existence and clarity of the

constitutional violation itself, (2) the degree of specificity of the constitutional protection, (3) support

for the propriety of a judicially inferred damage remedy in any ‘text, history, and previous

interpretations of the specific provision,’ (4) ‘the availability of another remedy,’ and (5) ‘various other

factors’ militating for or against a judicially inferred damage remedy.” 916 N.W.2d at 264-265. That

failure alone (a waiver) is a basis for denying the proposed claim.

        First, unlike Mays, this Court cannot conclude that Plaintiff’s unusual claims against the

individual Defendants (with far less authority than the Governor and Emergency Financial Managers

at issue in that case) reflect the same “degree of outrageousness of the state actors’ conduct.” 916

N.W.2d at 268. There is no allegation even approximating the intentional concealment of toxic water

data and false statements, as claimed in Mays. Id. Second, Plaintiff identifies no “support for the

propriety of a judicially inferred damage remedy” from any text, history or prior interpretations of the

Free Exercise clause. Indeed, the Free Exercise clause in Michigan’s Constitution is silent on any

remedy and the Legislature did not create one. Third, as shown in Defendants’ Motion to Dismiss, the

alleged violations of Plaintiff’s Free Exercise right rests on a strained theory that other employees were

afforded “secular” accommodation from practices that have nothing to do with the supposed pronoun

policies she challenges (or the supposed policy requiring referrals for gender-transition drugs and

procedures). Plaintiff’s strained theory makes clear that the “existence and clarity of the constitutional

violation itself” is anything but clear. Id. For each of these reasons, the Court should not carve out an




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exception here to the rule that she cannot pursue individual liability from government actors under the

Michigan Constitution.

                2.       ELCRA Individual Liability

        The same principle – that replies are not for new arguments – applies to Plaintiff’s assertion

that she needs to address “her ability to bring claims under the Elliott-Larsen Civil Rights Act against

Defendants Pierce, Booker, Cole, and Smith.” (PageID.1050).

        In the Brief in Support of Plaintiff’s Motion for Leave to Amend, Plaintiff cited Elezovic v.

Ford Motor Co., 472 Mich. 408, 418, 697 N.W.2d 851, 856-857 (Mich. 2005) for the proposition that

“defendants can be sued in their individual capacity under the ELCRA.” (PageID.961). That case

specifically laid out the standard by which someone could be held individually liable as an “agent

of the employer” under ELCRA. However, nowhere in Plaintiff’s Brief did Plaintiff apply that

standard to the allegations of her proposed Second Amended Complaint.

        This is true despite Plaintiff’s knowledge that the individual Defendants’ authority to make

the decisions at issue, including whether Plaintiff pleaded sufficient facts, was at issue. In the

individual Defendants’ Motion to Dismiss and their renewed Motion to Dismiss, Defendants made

clear their position that Plaintiff did not plead factual allegations that Defendants Booker, Cole, Pierce

and Smith actually made the decisions at issue or that they had unilateral authority to implement such

decisions. (See e.g., PageID. 214-215, 218, 221, 656-657, 662-663). Yet, Plaintiff now wants to assert

ELCRA claims against those individual Defendants.

        Again, Plaintiff has waited to include this argument in a Reply, which the local rules do

not permit in a non-dispositive motion without leave of the Court. In doing so, Plaintiff deprived

Defendants of the opportunity to expose the weaknesses of her arguments. Accordingly, the instant

Motion should be denied.




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       Further, in the proposed Reply, Plaintiff relies on the single unpublished decision in

Droomer v. Flex-N-Gate Detroit, LLC, No. 355117, 2021 WL 5019597 (Mich. Ct. App. Oct. 28,

2021). In Droomer, as Plaintiff points out, the Court held that the individual, Curtis, could not be

liable (because he did not make any discriminatory remarks). Therefore, the majority’s

conclusion that he could be considered an agent was pure dictum and not controlling. See e.g.,

McNeal v. Kott, 590 F. App'x 566, 571 (6th Cir. 2014) (“noncommittal dictum in an unpublished

opinion does not outweigh controlling authority on the other side of the scale.”). Further, the

Droomer case would appear to have considered Curtis an “agent” solely on the basis that he

conducted the investigation which resulted in termination of the plaintiffs’ employment. Id. at *8.5

However, it is important to note that Curtis was a management-level employee: either the HR

Manager or Director to whom the alleged harassment victim reported the issues. Id. at *1.6 This is

an allegation that Plaintiff does not make about Defendants Pierce and Smith in particular. Finally,

the issue in this case is not whether any of the Defendants had authority to conduct an investigation.

       Defendants will not rehash here the failures in Plaintiff’s Corrected First Amended

Complaint, or the failures in her proposed Second Amended Complaint, to plead facts supporting

individual liability against Defendants Booker, Cole, Pierce and Smith under ELCRA. Suffice it

to say that these reasons have been addressed elsewhere in response to Plaintiff’s Motion for Leave

to Amend. (See PageID.1021-1026).




5
  Defendants respectfully disagree with that finding as contrary to the principle in Elezovic and the
cases Defendants cite in response to Plaintiff’s Motion for Leave to Amend.
6
  The Droomer case refers to Curtis at one point as “Director” and at another point as “Manager.”
Id.

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                                     III.    CONCLUSION

        For the foregoing reasons, Defendants University of Michigan Health-West, Pai, Cole,

 Pierce, Smith and Booker respectfully request that this Honorable Court deny Plaintiff’s Motion

 and grant Defendants their costs and such other relief as this Court deems proper.

                                              Respectfully submitted,

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                                CERTIFICATE OF COMPLIANCE

          This Brief complies with the word limit of L. Civ. R. 7.3(b)(i) because, excluding the parts

 exempted by L. Civ. R. 7.3(b)(i), it contains 2,021 words. The word count was generated using

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                                                Respectfully submitted,

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